        Case 2:08-cr-00294-WBS Document 35 Filed 07/21/08 Page 1 of 2


 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE:(916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     SHERYL HAYDEN
 6
 7
 8                IN THE UNITED STATES DISTRICT COURT FOR THE
 9                       EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,      )               CR.-S-08-294-EJG
11                                  )
          PLAINTIFF,                )               STIPULATION AND
12                                  )               ORDER EXTENDING TIME TO
          v.                        )               FILE PRE-TRIAL RELEASE
13                                  )               DOCUMENTS
     SHERYL HAYDEN, et al.,         )
14                                  )
          DEFENDANT.                )
15   _______________________________)
16          On June 27, 2008, the defendant, SHERYL HAYDEN, made her first
17   appearance in this Court. At that time the Court ordered her released pending trial on
18   condition that a secured bond in the amount of $150,000 be posted. (See Docket Entry
19   # 13) The defendant has been released with an unsecured bond in the amount of
20   $150,000 being posted with the Court. (See Docket Entry #13) The defense requested
21   the secured bond to be posted on or before Friday, July 18, 2008. (See Docket Entry
22   #13)
23          The defense has been and is continuing to diligently obtain all of the necessary
24   documentation to file with the Court for the secured $150,000 appearance bond. The
25   appraisal has been completed on the property and there is sufficient equity to satisfy
26   the required secured bond of $150,000. Both the Assistant United States Attorney, Mr.
27   Russell L. Carlberg, and Pretrial officer, Mr. Steve Sheehan have been contacted
28                                              1
        Case 2:08-cr-00294-WBS Document 35 Filed 07/21/08 Page 2 of 2


 1   about the request for an extension. Defense counsel, Mr. James R. Greiner, personally
 2   spoke with Mr. Carlberg and Mr. Sheehan today, July 17, 2008, explained the entire
 3   situation to them and there is no objection by either the government or Pre-Trial to
 4   having the Court grant an extension of time to on or before August 8, 2008, for the
 5   defense to file the necessary documents for the $150,000 secured bond with the Court.
 6          Therefore, it is agreed and stipulated between the parties by their respective
 7   counsel, Mr. Russell L. Cralberg for the United States and Mr. James R. Greiner for
 8   defendant Sheryl Hayden, that the defense may have to on or before Friday, August
 9   8, 2008, to file the documents necessary for the $150,000 secured appearance bond in
10   this case.
11          Respectfully submitted,
12                                    McGREGOR W. SCOTT
                                      UNITED STATES ATTORNEY
13
                                      /s/ RUSSELL L. CARLBERG by phone authorization
14
     DATED: 7-18-08                   _____________________________________
15                                    RUSSELL L. CARLBERG
                                      Assistant United States Attorney
16                                    Attorney for the Plaintiff
17
                                      /s/ James R. Greiner
18   DATED: 7-18-08                   _____________________________________
                                      JAMES R. GREINER
19                                    Attorney for defendant SHERYL HAYDEN
20          FOR GOOD CAUSE SHOWN, IT IS HEREBY ORDERED that defendant
21   Sheryl Hayden shall have to on or before Friday, August 8, 2008, to file with the
22   Court the necessary documents to secure the $150,000 appearance bond and that the
23   defendant shall remain out of custody with the unsecured $150,000 appearance bond
24   previously filed with the Court until the filing of the documents necessary for the
25   $150,000 secured appearance bond.
26          IT IS SO ORDERED.
27   DATED: July 18, 2008
28                                               2
